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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION
                                (at London)

UNITED STATES OF AMERICA,                )
                                         )
         Plaintiff,                      )       Criminal No. 6: 09-16-DCR
                                         )
V.                                       )
                                         )
WILLIAM MORRIS, DEBRA MORRIS,            )
and FREDDY THOMPSON,                     )             MEMORANDUM ORDER
                                         )
         Defendants.                     )

                           ***   ***           ***    ***

     Through a notice filed January 3, 2010 [Record No. 603],

Defendants William Morris and Debra Morris seek to modify one

portion of the edited transcript of a May 1, 2007 audio recording

purportedly involving William Morris.                Likewise, Defendant Freddie

Thompson challenges three parts of the edited transcript of a

separate May 1, 2007 audio recording allegedly containing his

statements. [Record No. 615] 1 The Court has again listened to the

pertinent parts of the recordings in issue and agrees that limited

changes should be made as outlined below.
     I.      The Maricle & Morris May 1, 2007 Transcript

     Defendants William and Debra Morris state that the transcript

submitted by the United States contains all portions they had

included, with one exception.           According to these Defendants, the

statement appearing at the bottom of page 5 of the transcript as

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          The issue raised by these Defendants relates to the
accuracy of the transcripts the United States proposes to use
during trial, not the admissibility of the accompanying audio
recordings.

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recently amended by the United States (beginning at approximately

23:25 of the accompanying audio tape) should read:

      MORRIS: I know what you’re saying. I’m like your daddy
      though, you gotta do something wrong first.

      This   portion     of    the   transcript           previously    reviewed     and

approved by the Court states:

      MORRIS: I know what you mean. I like your daddy, don’t
      care, you gotta do something wrong first, now buddy.
      I’ll tell you that.

      Having again listened to the accompanying audio tape, the

Court will approve use of a transcript which reads as follows:

      MORRIS: I know what you’re saying. (UI) like your daddy
      (UI) you gotta do something wrong first, now buddy. (UI)

      The Defendants’ notice will be deemed an objection and will be

sustained, in part, and overruled, in part.
      II.    The Thompson May 1, 2007 Transcript

      Defendant   Thompson       objects          to    three   specific   statements

contained in a separate May 1, 2007 transcript.                     He asserts that

the first challenged portion of the transcript which appears at

page the top of page five of the transcript as recently amended by

the   United    States     (beginning         at       approximately   9:18    of    the

accompanying audio tape) should read as follows:

      THOMPSON: I was never involved in no election business
      this year whatsoever. Wasn’t involved whatsoever. I run
      it fair, I stay neutral in everybody’s races you know.
      If you all asked me for something, I got it for you, if
      somebody was asking me something and I could help a
      friend, you know, that was about as much as I done. I
      wasn’t getting mixed up in nothing. I was unopposed, I
      just kept my nose out of everybody’s business.




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     The    corresponding     portion          of   the    transcript      previously

reviewed and approved by the Court states:

     THOMPSON: (Interrupting) I was never involved in no
     election business (UI) year whatsoever. Wasn’t involved
     whatsoever. I run it fair, I stay neutral in everybody’s
     races you know. You all ask me for something, I got it
     for you, if (UI), you know, that was about as much as I
     done. I wasn’t mixed up in nothing. I was unopposed, I
     just kept my nose out of everybody’s business.

     Having again listened to the accompanying audio tape, the

Court will overrule Defendant Thompson’s objection to this portion

of the transcript previously approved for use at trial.

     The second challenged portion of the May 1, 2007 transcript

involving    Defendant     Thompson      appears          at   page   eight    of    the

transcript as recently amended by the United States(beginning at

approximately 16:35 of the accompanying audio tape).                          Defendant

Thompson asserts that this portion of the transcript should read as

follows:

     THOMPSON: Anything that was brought here is right back
     there locked up in a box. They could not have not taken
     the box. Now, I don’t know if they used more there that
     day than what they brought back, anyway, ain’t no way I’d
     know that.

     Having again listened to the accompanying audio tape, the

Court will sustain Thompson’s objection and approve the change he

suggests.

     Finally, Defendant Thompson objects to a statement appearing

at the top of page 9 of the transcript recently amended by the

United States (beginning at approximately 17:37 of the accompanying

audio tape) which includes a statement by Thompson that “I think
I’m in trouble, . . .”

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      Having again listened to the corresponding portion of the

audio tape, the Court finds the statement to be sufficiently

audible.     Accordingly, the Defendant’s objection to the inclusion

of this statement in the transcript will be overruled.
      III. Conclusion

      It is hereby ORDERED as follows:

      1.     Defendant William Morris and Debra Morris’ objection to

the May 1, 2007 transcript identified above [Record No. 603], is

SUSTAINED, in part, and OVERRULED, in part.                   In the event the

United States seeks to use this portion of the transcript during

trial, it shall make the changes as outlined above (Part I of this

Memorandum Order).

      2.     Defendant Freddie Thompson’s objections to a second May

1,   2007,   transcript    identified          above   [Record   No.    615],    are

SUSTAINED, in part, and OVERRULED, in part.                   In the event the

United States seeks to use these portions of the transcript during

trial, it shall make the changes as outlined above (Part II of this

Memorandum Order).

      This 14th day of January, 2010.




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